               Case 17-11962-KJC             Doc 532       Filed 01/24/18       Page 1 of 32



                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE

                                                            Chapter 11
In re:

AEROGROUP INTERNATIONAL,                                    Case No. 17-11962 (KJC)
INC., et al.,
                                                            (Jointly Administered)
                                       Debtors.1
                                                            Hearing Date: TBD
                                                            Obj. Deadline: TBD


 MOTION OF THE DEBTORS FOR ENTRY OF (I) AN ORDER (A) APPROVING BID
  PROCEDURES FOR THE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’
       ASSETS, (B) APPROVING RELATED CONTRACT ASSUMPTION AND
   ASSIGNMENT PROCEDURES, (C) AUTHORIZING THE DEBTORS TO ENTER
    INTO STALKING HORSE AGREEMENTS AND APPROVING CERTAIN BID
 PROTECTIONS, SUBJECT TO A FURTHER HEARING, (D) SCHEDULING A SALE
HEARING, AND (E) GRANTING CERTAIN RELATED RELIEF; AND (II) AN ORDER
  (A) APPROVING THE SALE OF THE DEBTORS’ ASSETS, (B) APPROVING THE
   ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS
   AND UNEXPIRED LEASES, AND (C) GRANTING CERTAIN RELATED RELIEF

         Aerogroup International, Inc. and certain of its affiliates, as debtors and debtors in

possession in the above-captioned cases (each, a “Debtor” and collectively, the “Debtors” or the

“Company”) hereby move, pursuant to sections 105(a), 363, 365, 503 and 507 of title 11 of the

United States Code, 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”), Rules 2002,

6003, 6004, 6006, 9007, 9008 and 9014 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Rule 2002-1, 6004-1 and 9006-1 of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware (the

“Local Rules”), for the entry of (i) an order substantially in the form attached hereto as

Exhibit A (the “Bid Procedures Order”) (a) approving the bid procedures attached as Exhibit 1

1
          The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
identification number, are as follows: Aerogroup International, Inc. (6119), AGI Holdco, Inc. (7087), Aerogroup
International LLC (4658), Aerogroup International Holdings LLC (4312), Aerogroup Retail Holdings, Inc. (4650),
and Aerogroup Gift Card Company, Inc. (7551). The mailing address for the Debtors, solely for purposes of notices
and communications, is: 201 Meadow Road, Edison, New Jersey 08817.




{BAY:03187190v3}
               Case 17-11962-KJC          Doc 532     Filed 01/24/18     Page 2 of 32




to the Bid Procedures Order (the “Bid Procedures”) in connection with a sale or sales

(collectively, one or more such sales, the “Sale”) of all or substantially all of the Debtors’ Assets

(as defined below); (b) approving certain notice procedures; (c) approving procedures (the

“Contract Procedures”) for the assumption and assignment of the Executory Contracts (as

defined below); (d) subject to a further hearing, authorizing the Debtors to enter into stalking

horse agreements and approving certain customary bid protections for any stalking horse

bidder(s) in connection with a sale transaction; (e) scheduling a hearing to approve the Sale (the

“Sale Hearing”); and (f) granting certain related relief; and (ii) an order (the “Sale Order”)

(a) approving the Sale free and clear of all claims, liens, liabilities, interests and encumbrances,

(b) approving the assumption and assignment of certain designated Executory Contracts, and (c)

granting certain related relief. In support of this motion (the “Motion”), the Debtors respectfully

state as follows:

                                           JURISDICTION

        1.         This Court has jurisdiction over this Motion under 28 U.S.C. §§ 157 and 1334 and

the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated February 29, 2012.            This is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2) and the Court may enter a final order consistent with Article III of the United States

Constitution. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        2.         Pursuant to Local Rule 9013-(f), the Debtors consent to the entry of a final order

by the Court in connection with this Motion to the extent that it is later determined that the

Court, absent consent of the parties, cannot enter final orders or judgments consistent with

Article III of the United States Constitution.




{BAY:03187190v3}                                 2
                Case 17-11962-KJC             Doc 532        Filed 01/24/18        Page 3 of 32




        3.         The statutory predicates for the relief requested are sections 105(a), 363, 365, 503

and 507 of the Bankruptcy Code and Bankruptcy Rules 2002, 6003, 6004, 6006 and 9014 and

Local Rules 2002-1, 6004-1 and 9006-1.

                                           RELIEF REQUESTED

        4.         First, the Debtors seek entry of the Bid Procedures Order, substantially in the

form attached hereto as Exhibit A, (i) approving the Bid Procedures, attached as Exhibit 1 to the

Bid Procedures Order, in connection with the Sale, (ii) approving certain notice procedures with

respect to the Sale, (iii) establishing the Contract Procedures, (iv) subject to a further hearing,

authorizing the Debtors to enter into stalking horse agreement(s) and approving certain

customary bid protections to any stalking horse bidder(s) in connection with a sale transaction,

and (v) scheduling the Sale Hearing (collectively, the “Bid Procedures Relief”).

        5.         By this Motion, the Debtors also seek approval of the successful bid(s) after

completion of the bidding and auction process. The Motion seeks the customary relief for sales

of the Debtors’ assets free and clear of liens, claims and encumbrances (the “Sale Relief”).2

                                               BACKGROUND

        6.         On September 15, 2017 (the “Petition Date”), the Debtors commenced these

bankruptcy cases (the “Chapter 11 Cases”) by filing voluntary petitions for relief under chapter

11 of the Bankruptcy Code. The Debtors continue to manage and operate their businesses as

debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.




2
         Given the emergency nature of the relief being requested in this Motion, the Debtors request that Local
Rule 6004-1(b) requiring the attachment of a proposed form of sale order be waived under these circumstances. The
Debtors will file a form of sale order as soon as practicable prior to a Sale Hearing or once a stalking horse bidder
has been identified.



{BAY:03187190v3}                                     3
               Case 17-11962-KJC          Doc 532     Filed 01/24/18    Page 4 of 32




        7.         On September 26, 2017, Region 3 of the Office of the United States Trustee (the

“U.S. Trustee”) appointed a five-member Official Committee of Unsecured Creditors (the

“Committee”). No trustee or examiner has been appointed.

        8.         The factual background regarding the Debtors, including their business

operations, their capital and debt structure, and the events leading up to the filing of these

Chapter 11 Cases, as well as the facts and the circumstances supporting the relief requested

herein is set forth in detail in the Declaration of Mark Weinsten in Support of Chapter11

Petitions and First Day Motions [D.I 3], filed on the Petition Date.

                                        BASIS FOR RELIEF

        9.         Prior to and throughout these Chapter 11 Cases, the Debtors, with the assistance

of their investment banking firm, Piper Jaffray & Co. (“Piper Jaffray”), have explored all

possible options available to the Company, including potential partnerships and sources of

capital funding, as well as a sale of the Company as a going concern or a sale of substantially all

of the assets of the Company for liquidation purposes. Piper Jaffray has sought offers in various

forms in response to the marketing process, including, among other variations, (a) offers to

purchase some or all of the Debtors’ e-commerce, wholesale and/or first cost business lines as

going concerns, (b) offers to purchase all or a portion of the Debtors’ assets for liquidation

purposes, (c) offers to engage in strategic partnerships involving the licensing of the Debtors’

intellectual property, and (d) offers to provide capital investments for a streamlined go-forward,

reorganized business.

        10.        On October 24, 2017, the Debtors filed the Debtors’ Joint Plan of Reorganization

[D.I. 203] (the “Original Plan”). The Original Plan provided for either (a) the reorganization of

the Debtors’ business in connection with the completion of one or more licensing transactions



{BAY:03187190v3}                               4
                  Case 17-11962-KJC              Doc 532        Filed 01/24/18        Page 5 of 32




and a sale of the Debtors’ remaining assets (the “Non-IP Assets”) not required in connection

with the go-forward business (the “Reorganization”) or (b) the sale of all or substantially all of

the Debtors’ assets through one or more sales under section 363 of the Bankruptcy Code and the

appointment of a plan administrator for purposes of distributing all proceeds of such sale(s) (the

“Liquidation Scenario”).

           11.      In connection with the Original Plan on November 7, 2017, the Debtors filed the

Debtors’ Motion for (I) an Order (A) Approving Bid Procedures For the Sale of Substantially All

of the Debtors’ Assets, (B) Approving Procedures For the Assumption and Assignment of

Executory Contracts or Unexpired Leases in Connection with the Sale, (C) Scheduling a Sale

Hearing and (D) Granting Certain Related Relief, and (II) an Order (A) Approving the Sale of

the Debtors’ Assets, (B) Approving the Assumption and Assignment of Certain Executory

Contracts and Unexpired Leases, and (C) Granting Certain Related Relief [D.I. 248] (the

“Original Sale Motion”).

           12.      Following the filing of the Original Plan and the Original Sale Motion, the

Debtors agreed to the terms of a license agreement, a retail distribution agreement, and an asset

purchase agreement (collectively, the “GBG Agreements”) with GBG USA Inc. (“GBG”).

           13.      On December 4, 2017, the Debtors filed the Debtors’ First Amended Joint Plan of

Reorganization [D.I. 326, 346] (as amended for solicitation, the “Amended Plan” and as revised

on January 17, 2018, the “Plan”)3 and the Disclosure Statement for Debtors’ First Amended Joint

Plan of Reorganization [D.I. 327, 347] (as amended for solicitation, the “Disclosure Statement”).

The Amended Plan removed the Liquidation Scenario and refined concepts related to the

Reorganization in anticipation of the execution of the GBG Agreements.

3
    Undefined capitalized terms used herein shall have the meanings set forth in the Plan.



{BAY:03187190v3}                                        5
               Case 17-11962-KJC          Doc 532     Filed 01/24/18      Page 6 of 32




        14.        On December 5, 2017, a hearing was held to consider approval of the bidding

procedures relief requested in the Original Sale Motion and the approval of the Disclosure

Statement. At that hearing, the Debtors informed the Court that based on the developments in

the transaction with GBG, any sale pursuant to the Original Sale Motion would be limited to the

Debtors’ interests in their unexpired retail leases of non-residential retail real property.

        15.        On December 8, 2017, the Court entered the Order (A) Approving Bid Procedures

For the Sale of Certain of the Debtors’ Nonresidential Real Property Leases, (B) Approving

Related Assumption and Assignment Procedures, (C) Scheduling a Sale Hearing and

(D) Granting Certain Related Relief [D.I. 352] (the “Lease Sale Procedures Order”). However,

the Debtors did not receive any bids for their leases and subsequently cancelled the related

auction. See Notice of Cancellation of Auction [D.I. 380].

        16.        The Court held a series of hearings on January 11th, 17th and 22nd related to

confirmation of the Plan. The hearing on confirmation of the Plan has been adjourned to

February 14, 2018.        As a result of certain outstanding issues related to the Plan and the

transactions proposed thereunder, the Debtors do not believe they will be able to procced with

confirmation of the Plan on February 14, 2018.

        17.        Instead, the Debtors file this emergency Motion requesting that the Court approve

the Bid Procedures for the immediate sale of substantially all of the Debtors’ assets. The Bid

Procedures are substantially similar to those proposed in the Original Sale Motion and similar to

those approved under the Lease Sale Procedures Order. The Bid Procedures are designed to

generate the greatest level of interest and the highest or otherwise best offer for the Debtors’

Assets, including, without limitation, the Debtors’ inventory, accounts receivable, deposits,

fixtures, furniture and equipment, customer lists, intellectual property, interests in remaining



{BAY:03187190v3}                               6
                   Case 17-11962-KJC               Doc 532        Filed 01/24/18         Page 7 of 32




unexpired contracts and leases (the “Executory Contracts”) 4 and any other available assets

(collectively, the “Assets”). Consistent with the marketing process the Debtors and Piper Jaffray

engaged in prior to and during these Chapter 11 Cases, the Bid Procedures intend to solicit

(a) offers to purchase some or all of the Debtors’ e-commerce, wholesale and/or first cost

business lines as going concerns, (b) offers to purchase all or a portion of the Debtors’ Assets for

liquidation purposes, and (c) offers for some combination of a going concern and liquidation

sale.

           18.       Upon completion of the Sale, the Debtors will no longer have the ability to (a)

maintain their customer programs, including honoring gift cards, returns, refunds, or exchanges,

or (b) continue any promotional programs, including honoring coupons or the Debtors' loyalty

club program. The Debtors are in the process of updating their stated policies to indicate all

sales are final and will seek relief related to the termination of customer programs at the Sale

Hearing.

                                     THE PROPOSED BID PROCEDURES

           19.       The Debtors seek approval of the Bid Procedures, which they have designed to be

flexible and open to all variations of bids and facilitate a robust sale process thereby generating

the greatest value for the Assets.

           20.       The Debtors propose the following timeline for the solicitation of bids, the

Auction (as defined below) and the Sale Hearing. The timeline for the Sale is driven by the stage

of these cases, the Debtors’ limited liquidity, and the significant marketing for the Debtors’

Assets that has already occurred.



4
    The Debtors have rejected, or will soon reject, all of their non-residential retail real property leases and such leases
     will not be included in the Assets.



{BAY:03187190v3}                                          7
                  Case 17-11962-KJC             Doc 532      Filed 01/24/18         Page 8 of 32




                                    Action                                    Deadline

               Bid Procedures Objection Deadline           TBD

               Bid Procedures Hearing                      TBD

               Cure Notice Service                         February 2, 2018

               Stalking Horse Deadline                     February 5, 2018 at 5:00 p.m. (ET)

               Bid Deadline                                February 9, 2018 at 5:00 p.m. (ET)

               Sale/Cure Objection Deadline                February 12, 2018 at 4:00 p.m. (ET)

               Auction                                     February 12, 2018 at 10:00 a.m. (ET)

               Adequate Assurance Objection Deadline       February 13, 2018 at 4:00 p.m. (ET)

               Sale Hearing5                               February 14, 2018 at 10:00 a.m. (ET)


         21.       The Bid Procedures describe, among other things, the requirements and manner in

which bidders and bids become “qualified,” the coordination of diligence efforts, the receipt and

negotiation of bids received, the conduct of any auction, and the selection and approval of any

ultimately successful bidders.

                   a)         Bidder Requirements: A party must submit the following documents to
                              the Debtors in order to be a “Qualified Bidder” and be allowed to
                              participate in the bidding process and receive access to conduct due
                              diligence:
                              (1)       An executed confidentiality agreement substantially in form and
                                        substance satisfactory to the Debtors; and
                              (2)       Reasonable evidence demonstrating the party’s financial capability
                                        to consummate a sale transaction for the Assets identified in such
                                        party’s bid.

                              See Bid Procedures, ¶ A.

                   b)         Bid Requirements: In order to be eligible to participate in the Auction, a
                              Qualified Bidder must, on or before the Bid Deadline, deliver a written
                              and executed copy of an asset purchase agreement and ancillary

5
         The Debtors reserve all rights to request that the Court postpone or adjourn the Sale Hearing to a later date
for any reason.



{BAY:03187190v3}                                      8
               Case 17-11962-KJC             Doc 532       Filed 01/24/18        Page 9 of 32




                         documents by which the potential bidder offers to purchase some or all of
                         the Assets at a purchase price and upon the terms and conditions set forth
                         therein and which provides, or otherwise complies with, the items noted
                         below (any such offer, a “Qualified Bid”):
                         (1)      Identifies the Assets (or the portion thereof) to be purchased,
                                  including (x) whether the bid contemplates a liquidation or
                                  operating any or all of the Debtors' business lines as going
                                  concerns, and (y) any Executory Contracts that would be assumed
                                  and assigned in connection with the proposed transaction;
                         (2)      Identifies, if applicable, the proposed form of adequate assurance
                                  of future performance with respect to any Executory Contracts that
                                  would be assumed and assigned in connection with the proposed
                                  transaction;
                         (3)      Constitutes a binding proposal regarding the assets sought to be
                                  acquired and the consideration to be paid; and
                         (4)      Remains irrevocable until 48 hours after the Sale Hearing;
                         (5)      Other than as agreed by the Debtors in connection with seeking
                                  approval of protections for a Stalking Horse Bidder (defined
                                  below), is not subject to any break-up fee, transaction fee,
                                  termination fee, expense reimbursement or any similar type of
                                  payment or reimbursement; and
                         (6)      Is accompanied by a good faith deposit in the amount of 10% of
                                  the proposed purchase price (a “Good Faith Deposit”).6

                         See Bid Procedures, ¶ B. The DIP Lender and the Prepetition Term Loan
                         Agent shall each be deemed a Qualified Bidder and shall not be required
                         to provide a Good Faith Deposit. See Bid Procedures, ¶ C.

                   c)    Credit Bidding: Qualified Bidders may credit bid some or all of their
                         claims to the full extent permitted by section 363(k) of the Bankruptcy
                         Code. See Bid Procedures, ¶ I. The DIP Lender and the Prepetition Term
                         Loan Agent may each participate in the Auction and to the extent set forth
                         in the Final DIP Order, may credit bid at any time up to the conclusion of
                         the Auction, each in their sole and absolute discretion, any portion and up
                         to the entire amount of their individual claims (a “Credit Bid”). Upon the
                         exercise of a Credit Bid, the DIP Lender and Prepetition Term Loan Agent
                         shall not be required to take title to or ownership of, or have any
                         obligation in connection with or be deemed to have taken title to or
                         ownership of, or have any obligation in connection with the Assets and the
                         DIP Lender and the Prepetition Term Loan agent separately shall have the
                         right to designate any person or entity it their respective sole and absolute

6
        The Debtors may waive the deposit requirement for bidders that submit credit bids.



{BAY:03187190v3}                                   9
              Case 17-11962-KJC         Doc 532      Filed 01/24/18     Page 10 of 32




                        discretion that shall take title to the Assets that are subject to the Credit
                        Bid. Neither the DIP Lender nor the Prepetition Term Loan Agent will be
                        a Backup Bidder unless either consents in writing otherwise. See Bid
                        Procedures, ¶ C.

                   d)   Due Diligence: The Bid Procedures permit all Qualified Bidders to
                        participate in the diligence process. See Bid Procedures, ¶ D.

                   e)   Conduct of Auction: If more than one Qualified Bid is received with
                        respect to the Sale, the Debtors will conduct an auction at the offices of
                        Ropes & Gray LLP, 1211 Avenue of the Americas, New York, New York
                        10036 (the “Auction”). Bidding shall begin initially with the highest
                        Qualified Bid and subsequently continue in minimum increments that will
                        be announced by the Debtors after consultation with (i) Polk 33 Lending,
                        LLC (the “DIP Lender”), (ii) THL Corporate Finance, Inc. (the
                        “Prepetition Term Loan Agent”), (iii) the Prepetition Senior Noteholders
                        and the Prepetition Subordinated Noteholders, and (iv) the official
                        committee of unsecured creditors (the “Committee” and collectively with
                        the parties at (i) – (iii), the “Consultation Parties”). The Debtors may
                        conduct the Auction in the manner they determine will result in the
                        highest, best or otherwise financially superior offer(s) for the Assets. The
                        Auction shall be conducted openly. See Bid Procedures, ¶ E.

                   f)   Evaluation of Qualified Bids: A Qualified Bid may be for all or some
                        portion of the Assets and may contemplate a liquidation or the operating
                        of any or all of the Debtors' business lines as going concerns. The Debtors
                        reserve the right to determine the value of any Qualified Bid (either by
                        itself or in connection with one or more other Qualified Bid), and which
                        Qualified Bid constitutes the highest, best or otherwise financially superior
                        offer. See Bid Procedures, ¶¶ B, F.

                   g)   Selection of Successful Bid(s): Upon the conclusion of the Auction, the
                        Debtors and their advisors, in consultation with the Consultation Parties,
                        shall (i) identify the bid or bids that constitute the highest and best offer
                        for the Assets (such bid, the “Successful Bid” and such person submitting
                        such bid the “Successful Bidder”), and (ii) may identify, in their
                        discretion, the bid or bids that constitutes the next highest or best offer for
                        the Assets (such bid the “Backup Bid” and such person submitting such
                        bid the “Backup Bidder”), and, in each case, so notify the Successful
                        Bidder and Backup Bidder. See Bid Procedures, ¶ F.

                   h)   Sale Hearing: The Debtors request that the Sale Hearing take place at the
                        omnibus hearing already scheduled for February 14, 2018, at 10:00 a.m.
                        (ET). However, the Debtors reserve all rights to request that the Court
                        postpone such Sale Hearing for any reason. See Bid Procedures, ¶ G.




{BAY:03187190v3}                              10
              Case 17-11962-KJC           Doc 532     Filed 01/24/18     Page 11 of 32




                   i)     Provisions Related to Stalking Horse Bidder(s): At any time on or prior to
                          February 5, 2018 (the “Stalking Horse Deadline”), the Debtors (after
                          consultation with the Consultation Parties) may enter into one or more
                          stalking horse purchase agreement (each, a “Stalking Horse Agreement”)
                          with Qualified Bidders (each, a “Stalking Horse Bidder”). The Debtors
                          shall not enter into Stalking Horse Agreements with more than one
                          potential purchaser for a distinct set of Assets. Each Stalking Horse
                          Agreement shall be subject to higher or better offers at the Auction and
                          shall establish a minimum bid at the Auction for the Assets included in the
                          Stalking Horse Agreement. The Stalking Horse Agreement may contain
                          customary terms and conditions providing the Stalking Horse Bidder with
                          reasonable bid protections (the “Bid Protections”). If the Debtors enter
                          into any such Stalking Horse Agreement(s), (a) on or before the Stalking
                          Horse Deadline, the agreement(s) shall be placed on the Court’s docket
                          and notice thereof shall be given to all parties who received notice of this
                          Motion, all parties on the Debtors’ 2002 notice list and all potential
                          bidders; and (b) the Court shall conduct a hearing on a date that is one (1)
                          or more business days thereafter, subject to the Court’s availability, to
                          approve the Debtors’ entry into any Stalking Horse Agreements and
                          consider approval of the proposed Bid Protections. The Bid Protections
                          hearing may be adjourned or rescheduled without notice other than as
                          stated on the record in court or in an appropriate agenda letter. See Bid
                          Procedures, ¶ J.

        22.        Other Highlighted Terms Under Local Rule 6004-1(b)(iv):

                   j)     Local Rule 6004-1(b)(iv)(A). To the extent a proposed purchaser is an
                          insider (within the meaning of section 101(31) of the Bankruptcy Code),
                          the Debtors will make the necessary disclosures to the Court and take
                          measures to ensure the fairness of the sale process and the proposed
                          transaction.

                   k)     Local Rule 6004-1(b)(iv)(B). The Debtors do not have any agreement
                          between any interested bidder and the Debtors’ management or key
                          employees.

                   l)     Local Rule 6004-1(b)(iv)(C). The Bid Procedures Relief does not include
                          the granting of any release in favor of any entity.

                   m)     Local Rule 6004-1(b)(iv)(F). The Debtors are requiring Qualified Bids to
                          include a 10% good faith deposit, unless waived by the Debtors for credit
                          bidding parties.

                   n)     Local Rule 6004-1(b)(iv)(G). The Debtors do not currently have any
                          interim management or other agreement with any party.




{BAY:03187190v3}                               11
                Case 17-11962-KJC         Doc 532     Filed 01/24/18    Page 12 of 32




                   o)     Local Rule 6004-1(b)(iv)(H). The Debtors are not seeking to release any
                          sale proceeds without further order of the Court.

                   p)     Local Rule 6004-1(b)(iv)(I). The Debtors are not seeking pursuant to this
                          Motion to have the Sale declared exempt from taxes under section 1146(a)
                          of the Bankruptcy Code.

                   q)     Local Rule 6004-1(b)(iv)(J). The Debtors will retain necessary books and
                          records, or copies thereof, to enable them to administer their bankruptcy
                          cases in any Sale.

                   r)     Local Rule 6004-1(b)(iv)(K). The Debtors are not seeking to sell
                          avoidance actions.

                   s)     Local Rule 6004-1(b)(iv)(L). The Debtors are seeking to sell the Assets
                          free and clear of successor liability claims.

                   t)     Local Rule 6004-1(b)(iv)(M). The Debtors are seeking to sell the Assets
                          free and clear of all liens, claims and encumbrances to the fullest extent
                          permitted by sections 363 and 365 of the Bankruptcy Code.

                   u)     Local Rule 6004-1(b)(iv)(N). Pursuant to the proposed Bid Procedures,
                          Qualified Bidders may credit bid some or all of their claims to the full
                          extent permitted by section 363(k) of the Bankruptcy Code

                   v)     Local Rule 6004-1(b)(iv)(O). The Debtors are seeking relief from the
                          fourteen-day stay imposed by Bankruptcy Rule 6004(h) for any sale.

          23.      The Debtors may modify the Bid Deadline, the date of the Auction or the date of

the Sale Hearing to the extent necessary to obtain the highest or best offer for the available

Assets.

                            PROPOSED SALE NOTICE PROCEDURES

          24.      Sale Notice. Within one (1) day after the entry of the Bid Procedures Order, or as

soon thereafter as practicable (the “Mailing Date”), the Debtors (or their agents) shall serve a

notice of the Auction and the Sale substantially in the form annexed hereto as Exhibit B (the

“Sale Notice”) by e-mail (if known) and first-class mail, postage prepaid, upon (i) the U.S.

Trustee; (ii) counsel to the THL Corporate Finance, Inc., as the Term Loan Agent, Paul Hastings

LLP, 71 S. Wacker Drive, Forty-Fifth Floor, Chicago, Illinois 60606 (Attn: Matthew Murphy),


{BAY:03187190v3}                               12
              Case 17-11962-KJC          Doc 532     Filed 01/24/18    Page 13 of 32




mattmurphy@paulhastings.com; (iii) Palladin Consumer Retail Products, Attn: John Lawrence,

John Hancock Tower, 200 Clarendon Street, 26th Floor, Boston, MA 02116; (iv) counsel to the

Prepetition Senior Noteholders and the Prepetition Subordinated Noteholders, Weil Gotshal &

Manges LLP, 767 Fifth Avenue, New York, New York 10153 (Attn: Jacqueline Marcus),

jacqueline.marcus@weil.com; (v) the Internal Revenue Service; (vi) the United States Attorney

for the District of Delaware; (vii) counsel to the Committee, Cooley LLP (Attn: Michael Klein

and Sarah A. Carnes), mklein@cooley.com and scarnes@cooley.com; (viii) counsel to the DIP

Lender, Arent Fox LLP, 1675 Broadway, New York, New York 10019 (Attn: Robert M. Hirsh,

Esq.), Robert.Hirsh@arentfox.com; (ix) any party known or reasonably believed to have asserted

any lien, claim or encumbrance or other interest in the Debtors’ Assets; (x) any party known or

reasonably believed to have expressed an interest in acquiring some or substantially all of the

Debtors’ Assets; and (xi) any parties that have requested notice in these cases pursuant to

Bankruptcy Rule 2002. Such notice shall be sufficient and proper notice of the Sale with respect

to known interested parties.

        25.        The Debtors have requested that the deadline for filing an objection to the Sale

shall be February 12, 2018 at 4:00 p.m. (ET) (the “Sale Objection Deadline”). Objections, if

any, shall be in writing, filed with the Court and served upon: (i) co-counsel to the Debtors: (a)

Ropes & Gray LLP, 1211 Avenue of the Americas, New York, NY 10036–8704 (Attn: Gregg M.

Galardi), gregg.galardi@ropesgray.com; and (b) Bayard, P.A., 600 N. King Street, Suite 400,

Wilmington, DE 198013 (Attn: Scott D. Cousins and Erin R. Fay) scousins@bayardlaw.com,

efay@bayardlaw.com; (ii) the U.S. Trustee; (iii) counsel to the THL Corporate Finance, Inc., as

the Term Loan Agent, Paul Hastings LLP, 71 S. Wacker Drive, Forty-Fifth Floor, Chicago,

Illinois 60606 (Attn: Matthew Murphy), mattmurphy@paulhastings.com; (iv) Palladin Consumer



{BAY:03187190v3}                               13
              Case 17-11962-KJC           Doc 532     Filed 01/24/18     Page 14 of 32




Retail Products, Attn: John Lawrence, John Hancock Tower, 200 Clarendon Street, 26th Floor,

Boston, MA 02116; (v) counsel to the Prepetition Senior Noteholders and the Prepetition

Subordinated Noteholders, Weil Gotshal & Manges LLP, 767 Fifth Avenue, New York, New

York     10153 (Attn: Jacqueline Marcus), jacqueline.marcus@weil.com; (vi) counsel to the

Committee, Cooley LLP (Attn: Michael Klein and Sarah A. Carnes), mklein@cooley.com and

scarnes@cooley.com; and (vii) counsel to the DIP Lender, Arent Fox LLP, 1675 Broadway,

New York, New York 10019 (Attn: Robert M. Hirsh, Esq.), Robert.Hirsh@arentfox.com, so that

it is actually received on or before the Sale Objection Deadline (collectively, the “Objection

Notice Parties”).

        26.        Bidding Results. As soon as practicable after the Bid Deadline, but no later than

one (1) day after such deadline, the Debtors shall provide electronic notice on the case docket as

to whether more than one Qualified Bid has been received and whether the Debtors will proceed

with the Auction. Such notice shall also contain a brief description of the Assets included in

each Qualified Bid, specifically including a list of the Executory Contracts included in such bid.

        27.        Auction Results. As soon as practicable after the Auction, but no later than one (1)

day after conclusion of the Auction, the Debtors shall provide electronic notice of the results

thereof on the case docket.

    PROPOSED NOTICE OF ASSUMPTION AND ASSIGNMENT OF CONTRACTS

        28.        As part of the Sale, the Debtors seek authority to potentially assume and assign

certain of the Executory Contracts to the Successful Bidder(s).

        29.        With respect to the Executory Contracts, no later than February 2, 2018, the

Debtors will file with the Court and serve on each party to an Executory Contract a notice

substantially in the form attached hereto as Exhibit C (the “Cure Notice”) setting forth the



{BAY:03187190v3}                                14
              Case 17-11962-KJC          Doc 532    Filed 01/24/18    Page 15 of 32




amount of cure owed thereunder according to the Debtors’ books and records (the “Cure

Amount”), (ii) notify each party that such party’s Executory Contract may be assumed and

assigned to the Successful Bidder to be identified at the conclusion of the Auction, (iii) state the

date of the Sale Hearing; and (iv) state the deadline by which the non-Debtor party shall file an

objection to the Cure Amount.

        30.        The Debtors have requested that the deadline for filing an objection (a “Cure

Objection”) to the Cure Amounts shall be February 12, 2018 at 4:00 p.m. (ET) (the “Cure

Objection Deadline”). Objections, if any, shall be in writing, filed with the Court and served

upon the Objection Notice Parties, so that they are actually received on or before the Cure

Objection Deadline. Any objection to a Cure Amount must state with specificity what cure the

party to the Executory Contract believes is required with appropriate documentation in support

thereof. If no objection is timely received, the Cure Amount set forth on the Cure Notice shall be

controlling notwithstanding anything to the contrary in any Executory Contract or other

document as of the date hereof or the date of the Cure Notice, as applicable. Any objections not

resolved by the Sale Hearing may be adjourned to a later hearing date as fixed by the Court.

        31.        Any non-Debtor counterparty to any Executory Contract who does not file a Cure

Objection by the Cure Objection Deadline, shall be forever barred from objecting to the Cure

Amount or asserting or claiming any Cure Amount (other than the Cure Amount listed on the

Cure Notice) against the Debtors or any Successful Bidder.

        32.        Non-Debtor parties to the Executory Contracts may seek additional adequate

assurance information by emailing their request (and explicitly agreeing in writing that they will

keep any information they receive confidential) to counsel for the Debtors, Gregg M. Galardi,

Esq. (Gregg.galardi@ropesgray.com), Alex McGee, Esq. (alex.mcgee@ropesgray.com), and



{BAY:03187190v3}                              15
              Case 17-11962-KJC         Doc 532     Filed 01/24/18      Page 16 of 32




Erin R. Fay, Esq. (efay@bayardlaw.com) at least one day prior to the Auction. Counsel for the

Debtors will email adequate assurance packages to those parties as soon as practicable but no

later than one day after the Auction.

        33.        The Debtors have requested that the deadline for filing an objection (an

“Adequate Assurance Objection”) to the assumption and assignment of an Executory Contract on

the basis of a lack of adequate assurance of future performance shall be February 13, 2018 at

4:00 p.m. (ET) (the “Adequate Assurance Objection Deadline”). Objections, if any, shall be in

writing, filed with the Court and served upon the Objection Notice Parties, so that they are

actually received on or before the Adequate Assurance Objection Deadline. Any objections not

resolved by the Sale Hearing may be adjourned to a later hearing date as fixed by the Court.

        34.        Any non-Debtor party to an Executory Contract who does not file a timely Cure

Objection or Adequate Assurance Objection shall be deemed to have consented to the

assumption and assignment of its Executory Contract to the Successful Bidder and will be

forever barred from objecting to such assumption and assignment on account of the Cure

Amount, lack of adequate assurance or any other grounds.

        35.        The hearing with respect to any Cure Objections and/or Adequate Assurance

Objections may be held (i) at the Sale Hearing, or (ii) on such other date as the Bankruptcy Court

may designate. To the extent the Debtors and a non-Debtor counterparty to an Executory

Contract are able to consensually resolve a Cure Objection or Adequate Assurance Objection

prior to the Sale Hearing, the Debtors shall promptly provide notice to the Committee, the U.S.

Trustee and the Successful Bidder, as applicable, of such resolution.




{BAY:03187190v3}                              16
              Case 17-11962-KJC          Doc 532    Filed 01/24/18    Page 17 of 32




                     IDENTIFICATION OF A STALKING HORSE BIDDER

        36.        To further facilitate the monetization of the Debtors’ Assets, the Debtors seek

authority to select one or more Stalking Horse Bidders, in consultation with the Consultation

Parties, and to provide any Stalking Horse Bidder with certain customary Bid Protections

including a breakup fee and expense reimbursement.           If the Debtors are able to reach an

agreement with any Stalking Horse Bidder by February 5, 2018, the Debtors propose to file a

notice of entry into any such agreements and to supplement this Motion with the applicable

disclosures required by Local Rule 6004-1. The Court would then hold a hearing to approve the

Debtors’ entry into any Stalking Horse Agreement and any Bid Protections.

                                   APPLICABLE AUTHORITY

I.      THE BID PROCEDURES SHOULD BE APPROVED

        37.        Pursuant to Bankruptcy Rule 6004(f)(1), sales of property outside the ordinary

course of business may be by private sale or by public auction. The paramount goal in any

proposed sale of property of the estate is to maximize the proceeds received by the estate. See In

re Mushroom Transp.          Co., 382 F.3d 325, 339 (3d Cir. 2004) (noting that the debtor in

possession “had a fiduciary duty to protect and maximize the estate’s assets”).

        38.        Courts uniformly recognize that procedures to enhance competitive bidding are

consistent with the goal of maximizing the value received by the estate and therefore are

appropriate in the context of bankruptcy transactions. See In re O’Brien Envtl. Energy, Inc., 181

F. 3d 527, 537 (3d Cir. 1999); see also Official Comm. of Subordinated Bondholders v.

Integrated Res. Inc. (In re Integrated Res. Inc.), 147 B.R. 650, 659 (S.D.N.Y. 1992) (noting that

bid procedures “encourage bidding and ... maximize the value of the debtor’s assets”).




{BAY:03187190v3}                              17
               Case 17-11962-KJC             Doc 532       Filed 01/24/18         Page 18 of 32




        39.        The Debtors believe that the Bid Procedures will increase the likelihood that the

Debtors will receive the greatest possible consideration for the Assets because such procedures

will ensure a competitive and fair bidding process. The Debtors also believe that the Bid

Procedures will promote active bidding from seriously interested parties and will generate the

highest or otherwise best offer for the Assets. The Bid Procedures will allow the Debtors to

conduct the Auction (if more than one Qualified Bid is received), in a controlled and fair manner

that will encourage participation by financially capable bidders that demonstrate the ability to

close the Sale.

        40.        The Debtors believe that the Bid Procedures are consistent with the bankruptcy

bidding and auction procedures approved routinely in this District and are most likely to

maximize the realizable value of their assets for the benefit of the Debtors’ estates, creditors, and

other parties in interest. Indeed, this Court and other bankruptcy courts in this District have

routinely approved similar bid procedures. See, e.g., In re iGPS Co. LLC, No. 13-11459 (KG)

(Bankr. D. Del. July 03, 2013) [D.I. 234]; In re Centaur, LLC, No. 10-10799 (KJC) (Bankr. D.

Del. July 28, 2010) [D.I. 489]; In re RNI Winddown Corp., No. 06-10110 (CSS) (Bankr. D. Del.

Feb. 24, 2006) [D.I. 80].7 Accordingly, the Debtors believe the Court should approve the Bid

Procedures.

        41.        The Debtors, with the assistance of their advisors, have been looking for strategic

buyers, financial buyers, and capital providers for more than six months. Throughout that

process, the Debtors have exhaustively marketed themselves and their assets for sale, and

multiple interested parties have conducted significant due diligence.                    Nonetheless, the Bid

7
        The referenced orders are voluminous in nature and are not attached to this motion; however, in accordance
with Local Rule 7007-2, as made applicable to main cases by the Court’s General Chambers Procedures,
undersigned counsel has copies of each order and will make them available to the Court or to any party that requests
them.



{BAY:03187190v3}                                    18
              Case 17-11962-KJC           Doc 532     Filed 01/24/18     Page 19 of 32




Procedures will allow any prospective bidders and other interested parties time before the Bid

Deadline to conduct any due diligence required. If other interested parties are discovered, the

Debtors will provide every possible opportunity to such parties to conduct the due diligence such

parties need to submit the best possible Qualified Bid. The Debtors submit that the extensive

process conducted since June 2017 has given potentially interested parties significant time,

notice, and opportunity to conduct due diligence, and given current liquidity, a process on an

expedited basis will best maximize value.

II.     PROPOSED STALKING HORSE PROTECTIONS

        42.        The Debtors have determined, in their reasonable business judgment, that

proceeding with the sale process as requested herein without first entering into a “stalking horse”

agreement is warranted and necessary. The Debtors intend to pursue discussions with potential

Stalking Horse Bidders and seek the right to enter into one or more Stalking Horse Agreements

and provide certain Bid Protections if the Debtors believe that such an agreement will further the

purposes of the Auction, by among other things, enticing value-maximizing bids.

        43.        Accordingly, the Debtors request authority, in the exercise of their sound business

judgment, and in consultation with the Consultation Parties, to agree to Stalking Horse

Agreements and Bid Protections, including, inter alia, a break-up fee in an amount not to exceed

3% of the total guaranteed cash or cash-equivalent price plus reimbursement of reasonable and

documented expenses, subject to an appropriate monetary cap. Any agreement to provide a Bid

Protections would be expressly conditioned on the Court’s approval of such protections. The

Bid Protections would be an administrative expense claim against the Debtors’ estates under

section 503(b) of the Bankruptcy Code; provided, however, in the event that the Debtors agree to

Bid Protections, and (a) the Successful Bidder is a result of such bidder’s exercise of any credit



{BAY:03187190v3}                                19
              Case 17-11962-KJC           Doc 532     Filed 01/24/18     Page 20 of 32




bid right, or (b) a sale of the property does not close for any reason on or before an agreed

duration of time after entry of the Sale Order, then the Bid Protections would not be paid by the

Debtors, their estates, or any other person or party, and no administrative obligation will be

created, and any agreement by the Debtors to pay Bid Protections will provide and acknowledge

the same.

        44.        While such procedures are, admittedly, not always found in “naked” auctions, the

Debtors believe that, in this case, such relief is warranted to ensure the Debtors’ ability to take

advantage of a potentially value-maximizing bid. The ability of the Debtors to offer a Stalking

Horse Bidder the Bid Protections is beneficial to the Debtors’ estates and creditors because it

allows the Debtors to provide the incentive required to induce a potential bidder to submit or

increase its bid prior to the Auction. To the extent bids can be improved prior to the Auction, a

higher floor is established for further bidding. Thus, even if a Stalking Horse Bidder is offered

the Bid Protections and ultimately is not the Successful Bidder, the Debtors and their estates will

have benefited from the higher floor established by the improved bids. The Debtors will exercise

prudent business judgment before offering or agreeing to any of the Bid Protections and will

only do so if such protections, in the reasonable business judgment of the Debtors and in

consultation with the Consultation Parties, will likely result in the realization of greater value for

the Debtors and their estates.

        45.        There is substantial justification for authorizing the Debtors to choose a Stalking

Horse Bidder after approval of the Bidding Procedures but before an Auction in situations where

(a) the stalking horse bidder is not readily apparent or the stalking horse agreement was not

readily available at the time the bidding procedures motion was filed; (b) any such later

determination to enter into a stalking horse agreement will only be made with the consent of



{BAY:03187190v3}                                20
              Case 17-11962-KJC          Doc 532     Filed 01/24/18   Page 21 of 32




other constituents, such as the creditors committee; and (c) further court approval is sought. See

In re AFA Investment Inc., Case No. 12-11127 (MFW) (Bankr. D. Del. May 9, 2012)

(authorizing Debtors to provide bid protections in the form of (i) a topping fee, (ii) a requirement

that other bidders be obligated to agree to a form of asset purchase agreement no less favorable

to debtors than the stalking horse agreement, and (iii) minimum initial and overbid increments;

provided, that the top-up fee is expressly conditioned on consummation of the sale to another

party and subject to court approval on two (2) business days’ notice); see also In re Archway

Cookies LLC, Case No. 08-12323 (CSS) (Bankr. D. Del. May 9, 2012) (approving stalking horse

bidder, where motion stated the Debtors’ intent to entertain stalking horse offers and indicated

that, if one was accepted, the Debtors would apply to the bankruptcy court for approval and prior

to hearing, a stalking horse was identified).

        46.        In this case, the Debtors have not yet been presented with acceptable stalking

horse bids but remain optimistic that such a bid will emerge for certain of the Assets. Under

these circumstances, authorization of the Debtors to offer Bid Protections, subject to further

Court approval, will be beneficial to the Debtors’ efforts to maximize value for all constituents.

        47.        Any Stalking Horse Bidder will have expended considerable time, money and

energy pursuing and negotiating the transaction. Accordingly, the Debtors may not be able to

find a Stalking Horse Bidder without having the flexibility to offer the Bid Protections. Further,

such protections are warranted in light of the benefit to the Debtors’ estates and creditors for

providing a market-based indication of value to open the Auction and from the increased

certainty of a transaction. See generally In re 95 Fifth Ave. Assocs., 96 B.R. 24, 28 (Bankr.

S.D.N.Y. 1989) (“breakup fees and other strategies may be legitimately necessary to convince a

‘white knight’ to enter the bidding by providing some form of compensation for the risks it is



{BAY:03187190v3}                                21
                Case 17-11962-KJC         Doc 532      Filed 01/24/18     Page 22 of 32




undertaking.”); In re Integrated Res., Inc., 147 B.R. 650, 660-61 (S.D.N.Y. 1992) (noting that

break-up fees can prompt bidders to commence negotiations and “ensure that a bidder does not

retract its bid”); In re Hupp Indus., 140 B.R. 191, 194 (Bankr. N.D. Ohio 1992) (“[W]ithout such

fees, bidders would be reluctant to make an initial bid for fear that their first bid will be shopped

around for a higher bid from another bidder who would capitalize on the initial bidder’s . . . due

diligence”).

        48.        The Debtors submit that any Bid Protections will be consistent with the applicable

standards and should be approved as fair and reasonable. See, e.g., In re O’Brien Env’t Energy.

Inc., 181 F.3d 527 (3d Cir. 1999) (requiring bidding incentives such as break-up frees to provide

benefit to the estate); In re Reliant Energy Channelview LP, 594 F.3d 200, 206 (3d Cir. 2010)

(“the allowability of break-up fees, like that of other administrative expenses, depends on the

requesting party’s ability to show that the fees were actually necessary to preserve the value of

the estate”).

        49.        First, the Debtors and their professionals will negotiate with any and all potential

bidders to submit a Qualified Bid and serve as the Stalking Horse Bidder, which dispenses with

any implication of self-dealing or a lack of arm’s-length negotiations under the circumstances.

Second, the Debtors believe, based on reasoned business judgment and in consultation with the

Consultation Parties, that the ability to designate a Stalking Horse Bidder is warranted and is

likely to increase the value to the estates from the proposed sale process by signaling the

existence of a contractually-committed bidder at a floor price believed to be fair and reasonable

while providing the opportunity of potentially receiving a higher or otherwise better offer which,

absent such a bid floor, might not otherwise be realized.           Additionally, any proposed Bid

Protections will be within the range of such fees and expenses approved by this and other courts.



{BAY:03187190v3}                                22
              Case 17-11962-KJC          Doc 532     Filed 01/24/18     Page 23 of 32




Further, if the Bid Protections were to be paid, it will be because the Debtors have received a

higher or otherwise better offer.

III.    THE SALE NOTICE PROCEDURES ARE REASONABLE AND APPROPRIATE

        50.        Pursuant to Bankruptcy Rules 2002(a) and (c), the Debtors are required to notify

creditors of the Sale, including a disclosure of the time and place of any Auction, the terms and

conditions of the Sale and the deadline for filing any objections thereto.

        51.        The Debtors submit that the notice procedures described above comply with

Bankruptcy Rule 2002 and the Local Rules and are reasonably calculated to provide timely and

adequate notice of the Bid Procedures, the Auction and the Sale Hearing to the Debtors’ creditors

and other interested parties that are entitled to notice, as well as those parties that have expressed

a bona fide interest in acquiring the Debtors’ Assets.

        52.        Accordingly, the Debtors request that the Court approve the notice procedures set

forth herein, including the form and manner of service of the Sale Notice and that no other or

further notice of the Bid Procedures, the Auction and the Sale Hearing is necessary or required.

IV.     THE SALE RELIEF

        53.        By this Motion, the Debtors also request that the Court approve the Sale pursuant

to sections 105, 363 and 365 of the Bankruptcy Code. This portion of the relief is requested to

be entered after the Sale Hearing. The Debtors submit that the sale of substantially all of their

Assets to a Successful Bidder(s) is in the best interests of the Debtors, their estates and

stakeholders and should be approved.

        A.         Sale Pursuant to Section 363(b)(1).

        54.        Section 363(b)(1) of the Bankruptcy Code provides, “The trustee, after notice and

a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the




{BAY:03187190v3}                               23
                Case 17-11962-KJC         Doc 532     Filed 01/24/18     Page 24 of 32




estate.” Section 105(a) of the Bankruptcy Code provides in relevant part: “The Court may issue

any order, process, or judgment that is necessary or appropriate to carry out the provisions of this

title.”

          55.      A debtor should be authorized to sell assets out of the ordinary course of business

pursuant to section 363 of the Bankruptcy Code and prior to obtaining a confirmed plan or

reorganization if it demonstrates a sound business purpose for doing so. See In re Delaware &

Hudson Ry. Co., 124 B.R. 169 (D. Del. 1991) (finding that the sale of substantially all of debtor’s

assets outside of a reorganization plan is appropriate when a sound business reason justifies such

a sale); Committee of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063,

1070 (2d Cir. 1983); In re Mid-Am. Waste Sys., Case No. 97-104 (PJW) (Bankr. D. Del. Mar. 7,

1997).

          56.      Courts have applied the following four factors in determining whether a sound

business justification exists: (a) whether a sound business reason exists for the proposed

transaction; (b) whether fair and reasonable consideration is provided; (c) whether the transaction

has been proposed and negotiated in good faith; and (d) whether adequate and reasonable notice

is provided. See Delaware & Hudson Ry., 124 B.R. at 175 (adopting Lionel factors to consider

in determining whether sound business purpose exists for sale outside ordinary course of

business in this District); Lionel, 722 F.2d at 1071 (setting forth the “sound business” purpose

test); In re Abbotts Dairies of Penn., Inc., 788 F.2d 143, 147-49 (3d Cir. 1986) (implicitly

adopting the articulated business justification test of Lionel standard and adding the “good faith”

requirement).

          57.      As explained above, the Debtors have determined that their best opportunity to

maximize creditor recoveries is to sell the Assets as described herein. Accordingly, it is a valid



{BAY:03187190v3}                                24
              Case 17-11962-KJC           Doc 532      Filed 01/24/18         Page 25 of 32




exercise of the Debtors’ business judgment to seek approval of the transaction for the Sale of the

Debtors’ Assets.

        B.         Sale Free and Clear Pursuant to Section 363(f).

        58.        Bankruptcy Code section 363(f) provides:

                   The Trustee may sell property under subsection (b) or (c) of this section free and
                   clear of any interest in such property of an entity other than the estate, only if -

                          (1)     applicable non-bankruptcy law permits sale of such property free
                                  and clear of such interest;

                          (2)     such entity consents;

                          (3)      such interest is a lien and the price at which such property is to be
                                  sold is greater than the aggregate value of all liens on such
                                  property;

                          (4)     such interest is in bona fide dispute; or

                          (5)     such entity could be compelled, in a legal or equitable proceeding,
                                  to accept a money satisfaction of such interest.

11 U.S.C. § 363 (f).

        59.        The Debtors maintain that one of the five subsections of section 363(f) will be

satisfied in connection with the Sale, and therefore, the Debtors may sell their assets free and

clear of all liens, claims, and encumbrances. Specifically, the Debtors will consult with the

Prepetition Term Loan Agent and the DIP Lender and seek to obtain their consent prior to

seeking approval of the particular Sale Relief. Moreover, the Debtors submit that any such lien,

claim, or encumbrance will be adequately protected by attachment to the net proceeds of the sale,

subject to any claims and defenses the Debtors may possess with respect thereto. In addition, the

Debtors incorporate by reference their arguments set forth in the Reply in Support of

Confirmation and to Objections of Wiesner Products, Inc. and Moveon Componentes E Calcado

[D.I. 459] in support of the free and clear nature of the Sale Relief. The Debtors further reserve



{BAY:03187190v3}                                25
              Case 17-11962-KJC           Doc 532      Filed 01/24/18     Page 26 of 32




their rights to make additional arguments related to the free and clear nature of the Sale Relief,

including based on the recent decision in In re Tempnology, LLC, No. 16-9016, 2018 WL

387621 (1st Cir. Jan. 12, 2018). Accordingly, the Debtors request that the assets be transferred

to the Successful Bidder(s) free and clear of all liens, claims, and encumbrances, with such liens,

claims, and encumbrances attaching to the proceeds of the sale of the Assets.


        C.         Authorization of Assumption and Assignment of Executory Contracts and
                   Unexpired Leases.

        60.        To enhance the value of the Debtors’ Assets, the Debtors request approval under

section 365 of the Bankruptcy Code of the Debtors’ assumption and assignment of the Executory

Contracts, as applicable, to the Successful Bidder(s). The Debtors further request that the Sale

Order provide that such Executory Contracts will be transferred to, and remain in full force and

effect for the benefit of, the Successful Bidder(s) notwithstanding any provisions in such

Executory Contracts, including those described in Bankruptcy Code sections 365(b)(2) and (f)(1)

and (3) that prohibit such assignment.

        61.        Bankruptcy Code section 365 (f) (2) provides, in pertinent part, that:

                   The trustee may assign an executory contract or unexpired lease of the debtor
                   only if —

                          (A)     the trustee assumes such contract or lease in accordance with the
                                  provisions of this section; and

                          (B)     adequate assurance of future performance by the assignee of such
                                  contract or lease is provided, whether or not there has been a
                                  default in such contract or lease.

11 U.S.C. § 365(f)(2).

        62.        Under section 365(a), a debtor “subject to the court’s approval, may assume or

reject any executory contract or unexpired lease of the debtor.” 11 U.S.C. § 365(a). Section




{BAY:03187190v3}                                26
              Case 17-11962-KJC           Doc 532     Filed 01/24/18     Page 27 of 32




365(b)(1), in turn, codifies the requirements for assuming an unexpired lease or executory

contract of a debtor, providing, in pertinent part that:

                   (b)(1) If there has been a default in an executory contract or unexpired lease of
                          the debtor, the trustee may not assume such contract or lease unless, at the
                          time of assumption of such contract or lease, the trustee—

                          (A)     cures, or provides adequate assurance that the trustee will promptly
                                  cure, such default ...;

                          (B)     compensates, or provides adequate assurance that the trustee will
                                  promptly compensate, a party other than the debtor to such
                                  contract or lease, for any actual pecuniary loss to such party
                                  resulting from such default; and

                          (C)     provides adequate assurance of future performance under such
                                  contract or lease.

11 U.S.C. § 365(b)(1).

        63.        The meaning of “adequate assurance of future performance” depends on the facts

and circumstances of each case, but should be given a “practical, pragmatic construction.” EBG

Midtown S. Corp. v. McLaren/Hart Env. Eng’g Corp. (In re Sanshoe Worldwide Corp.), 139 B.

R. 585, 593 (S.D.N.Y. 1992); In re Rachels Indus., Inc., 109 B.R. 797, 803 (Bankr. W.D. Tenn.

1990); see also In re Prime Motor Inns Inc., 166 B.R. 993, 997 (Bankr. S.D. Fla. 1994)

(“[a]lthough no single solution will satisfy every case, the required assurance will fall

considerably short of an absolute guarantee of performance”).

        64.        Adequate assurance may be provided by demonstrating the assignee’s financial

health and experience in managing the type of enterprise or property assigned. See, e.g., In re

Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986) (finding that adequate assurance is

present when prospective assignee of lease from debtor has financial resources and has expressed

willingness to devote sufficient funding to business to give it strong likelihood of succeeding).




{BAY:03187190v3}                                27
              Case 17-11962-KJC           Doc 532     Filed 01/24/18     Page 28 of 32




        65.        The Debtors intend to present facts at the Sale Hearing to show the financial

credibility, willingness, and ability of the Successful Bidder(s) to perform under any Executory

Contracts the Debtors intend to assume and assign to such Successful Bidder(s). The Sale

Hearing thus will afford the Court and other interested parties the opportunity to evaluate the

ability of the Successful Bidder(s) to provide adequate assurance of future performance under the

such contracts, as required under Bankruptcy Code section 365(b)(1)(C). Further, as set forth

above, the Debtors will give notice to all parties to the Executory Contracts of their intention to

assume the Executory Contracts and what the Debtors believe are the Cure Amounts.

Accordingly, the Court should authorize the Debtors to assume and assign any or all Executory

Contracts, as applicable, to the Successful Bidder(s).

        D.         The Successful Bidder(s) (and Any Designee), Should be Afforded All
                   Protections Under Section 363(m) of the Bankruptcy Code.

        66.        Section 363(m) of the Bankruptcy Code protects a good faith purchaser’s interest

in property purchased from the debtor notwithstanding that authorization of the sale conducted

under section 363(b) is later reversed or modified on appeal. Specifically, section 363(m)

provides, in relevant part, as follows:

                   The reversal or modification on appeal of an authorization under [section 363(b)]
                   ... does not affect the validity of a sale ... to an entity that purchased ... such
                   property in good faith, whether or not such entity knew of the pendency of the
                   appeal, unless such authorization and such sale or lease were stayed pending
                   appeal.

11 U.S.C. § 363(m).

        67.        Section 363(m) “reflects the ... ‘policy of not only affording finality to the

judgment of the bankruptcy court, but particularly to give finality to those orders and judgments

upon which third parties rely.’” In re Abbotts Dairies of Penn., Inc., 788 F.2d 143, 147 (3d Cir.

1986) (quoting Hoese Corp. v. Vetter Corp. (In re Vetter Corp.), 724 F.2d 52, 55 (7th Cir.



{BAY:03187190v3}                                28
              Case 17-11962-KJC           Doc 532     Filed 01/24/18    Page 29 of 32




1983)). See also United States v. Salerno, 932 F.2d 117, 123 (2d Cir. 1991) (noting that section

363(m) furthers the policy of finality in bankruptcy sales and “assists bankruptcy courts in

maximizing the price for assets sold in such proceedings”); In re Stein & Day, Inc., 113 B.R.

157, 162 (Bankr. S.D.N.Y. 1990) (same).

        68.        As discussed above, the selection of the Successful Bidder(s) will be a product of

arm’s length and good faith negotiations. Based on the foregoing, the Debtors request that the

Court determine that the Successful Bidder(s) is a good faith purchaser entitled to protections of

section 363(m) of the Bankruptcy Code.

                                    RESERVATION OF RIGHTS

        69.        The Debtors expressly reserve the right to amend, modify, and/or supplement the

relief requested in this Motion in all respects prior to or at the applicable hearing (and the Bid

Procedures prior to or during the Auction) and reserve the right to withdraw this Motion, in

whole or in part, prior to or at the applicable hearing.

                      REQUEST FOR WAIVER OF LOCAL RULE 6004-1(b)

        70.        Local Rule 6004-1(b) requires, among other things, that any motion to sell

property of the estate pursuant to section 363 of the Bankruptcy Code attach “[a] copy of the

proposed purchase agreement, or a form of such agreement substantially similar to the one the

debtor reasonably believes it will execute in connection with the proposed sale [and a] copy of a

proposed form of sale order.” Del. Bankr. L. R. 6004-1(b). As set forth above, the Debtors and

their professionals have been and are continuing an aggressive marketing of the assets.

Nevertheless, the terms of the Sale of the Assets, including, in particular, the identification of the

to-be purchased Assets, the purchase price of such Assets, and the extent of assumed liabilities,

are uncertain as of the date hereof. Any such forms the Debtors might submit at this time would




{BAY:03187190v3}                               29
              Case 17-11962-KJC            Doc 532     Filed 01/24/18     Page 30 of 32




be merely generic in nature, rather than based on any actual transaction or terms being proposed,

and the ultimate transaction(s) and term(s) proposed could differ materially from any speculative

forms presented at this time. Consequently, filing such forms would offer little benefit and may

be confusing to the parties receiving notice of this Motion. Accordingly, the Debtors request a

waiver of the provisions of Local Rule 6004-1 to the extent applicable.

                   REQUEST FOR WAIVER OF BANKRUPTCY RULE 6004(h)

        71.        The Debtors request that the Court waive the stay imposed by Bankruptcy Rule

6004(h), which provides that “[a]n order authorizing the use, sale or lease of property other than

cash collateral is stayed until the expiration of 14 days after entry of the order, unless the court

orders otherwise.”        To maximize the value of the Assets and to minimize unnecessary

administrative expenses, it is critical that the Debtors consummate a Sale on the timeline

proposed. Accordingly, the Debtors request that the automatic fourteen (14) day stay under

Bankruptcy Rules 6004(h) and 6006(d) be waived.

                                                NOTICE

        72.        Notice of this Motion has been given to the following parties or, in lieu thereof, to

their counsel: (i) the U.S. Trustee; (ii) counsel to the THL Corporate Finance, Inc., as the Term

Loan Agent, Paul Hastings LLP, 71 S. Wacker Drive, Forty-Fifth Floor, Chicago, Illinois 60606

(Attn: Matthew Murphy), mattmurphy@paulhastings.com; (iii) Palladin Consumer Retail

Products, Attn: John Lawrence, John Hancock Tower, 200 Clarendon Street, 26th Floor, Boston,

MA 02116; (iv) counsel to the Prepetition Senior Noteholders and the Prepetition Subordinated

Noteholders, Weil Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153

(Attn: Jacqueline Marcus), jacqueline.marcus@weil.com; (v) the Internal Revenue Service;

(vi) the United States Attorney for the District of Delaware; (vii) counsel to the Committee,




{BAY:03187190v3}                                30
              Case 17-11962-KJC         Doc 532     Filed 01/24/18      Page 31 of 32




Cooley LLP (Attn: Michael Klein and Sarah A. Carnes), mklein@cooley.com and

scarnes@cooley.com; and (viii) counsel to the DIP Lender, Arent Fox LLP, 1675 Broadway,

New York, New York 10019 (Attn: Robert M. Hirsh, Esq.), Robert.Hirsh@arentfox.com; (ix)

any party known or reasonably believed to have asserted any lien, claim or encumbrance or other

interest in the Debtors’ assets; (x) any party known or reasonably believed to have expressed an

interest in acquiring some or substantially all of the Debtors’ assets; (xi) the counterparties to the

Executory Contracts, and their counsel, if known, at the address set forth in the notice provision

of such Executory Contracts, or if none, the last known address available to the Debtors; and

(xii) any parties that have requested notice in these cases pursuant to Bankruptcy Rule 2002. In

light of the nature of the relief requested in this Motion, the Debtors respectfully submit that no

further notice is necessary.




{BAY:03187190v3}                             31
              Case 17-11962-KJC         Doc 532        Filed 01/24/18   Page 32 of 32




                                          CONCLUSION

        WHEREFORE, the Debtors respectfully request that this Court enter the Bid Procedures

Order, substantially in the form attached as Exhibit A, granting the relief requested herein and

such other and further relief as is just and proper.

Dated: January 24, 2018                        BAYARD, P.A.
       Wilmington, Delaware
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                                               Erin R. Fay (No. 5268)
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                                               and Debtors in Possession




{BAY:03187190v3}                              32
